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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 In re:                                           SIPA LIQUIDATION

 BERNARD L. MADOFF INVESTMENTS                    Case No. 08-01789
 SECURITIES, LLC

                                 AFFIDAVIT OF MAILING


 STATE OF TEXAS                              )
                                             )      ss:
 COUNTY OF DALLAS                            )

       Tassie Powers Barr, being duly sworn, deposes and says:

    1. I am a Senior Vice President of AlixPartners, LLP, which maintains offices at 2101
       Cedar Springs Road, Suite 1100, Dallas, Texas 75201.

    2. I am over the age of eighteen years and am not a party to the above-captioned action.

    3. On July 19, 2021, I caused to be served, via email transmittal, and via first-class mail,
       postage prepaid, upon the parties listed on the annexed Exhibit A, a true and correct copy
       of the following:

             A. Notice of Transfer of Allowed Claim (Transfer Number T000773)
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                                  Exhibit A
                        08-01789-cgm             Doc 20650    Filed 07/22/21 Entered 07/22/21 18:33:25          Main Document
                                                                         SERVICE LIST A
                                                                          PgNUMBER
                                                                     TRANSFER 4 of 4T000773
                                                                            7/19/2021

TRANSFEROR   TRANSFEREE NAME                          CONTACT NAME    ADDRESS 1          ADDRESS 2   CITY          STATE    ZIP CODE
    X
                       Redacted for confidentiality
                       reasons                                        B.P. 142           L-2011      Luxembourg


                 X
                       Redacted for confidentiality
                       reasons                                        261 Fifth Avenue   Floor 22    New York      NY       10016
